Case 3:17-cv-00072-NKM-JCH Document 262 Filed 03/12/18 Page 1 of 9 Pageid#: 1749

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  Counsel for Defendant James A. Fields, Jr.
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  Counsel for Defendants Michael Hill, Michael Tubbs, and League of the South
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  Counsel for Defendants Jeff Schoep, Nationalist Front, National Socialist Movement, Matthew
  Parrott, Matthew Heimbach, Robert Ray, Traditionalist Worker Party, Elliot Kline, Jason
  Kessler, Vanguard America, Nathan Damigo, Identity Europa, Inc. (Identity Evropa), and
  Christopher Cantwell

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